Case: 1:13-cv-09116 Document #: 194 Filed: 06/26/15 Page 1 of 1 PageID #:4916

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                               Eastern Division

National Collegiate Athletic Association Student−Athlete
Concussion Injury Litigation, et al.
                                                            Plaintiff,
v.                                                                        Case No.:
                                                                          1:13−cv−09116
                                                                          Honorable John
                                                                          Z. Lee
National Collegiate Athletic Association
                                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 26, 2015:


        MINUTE entry before the Honorable John Z. Lee: In light of the continued
briefing in the case with regards to the motion for preliminary approval of class settlement
the status hearing set for 7/1/15 is stricken. The Court will set another status by minute
order.Mailed notice(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
